               Case 4:14-cr-00068-KGB                          Document 154    Filed 11/01/16     Page 1 of 1
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~AO 245A (Rev. 12/03) Judgment of Acquittal
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                       EASTERN                                   DISTRICT OF              ARKANSAS

          UNITED STATES OF AMERICA
                                                                         JUDGMENT OF ACQUITTAL
                             v.
               Michael Francis Heald and
                 Bradley Stephen Paul                                    CASE NUMBER: 4:14-cr-0068-KGB




       Defendant Michael Francis Heald was found not guilty after a jury trial. It is ordered that
defendant Michael Francis Heald is acquitted, discharged, and any bond exonerated.

       Defendant Bradley Stephen Paul was found not guilty after a jury trial. It is ordered that defendant
Bradley Stephen Paul is acquitted, discharged, and any bond exonerated.




Kristine G. Baker - District Judge
Name of Judge                                 Title of Judge

11/1/2016
                                  Date
